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 Daniel S. Szalkiewicz, Esq. (DS2323)            Abraham Borenstein
 DANIEL SZALKIEWICZ &                            BORENSTEIN, MCCONNELL
 ASSOCIATES, P.C.                                & CALPIN, P.C.
 23 West 73rd Street, Suite 102                  155 Morris Avenue, Suite 201
 New York, New York 10023                        Springfield, NJ 07081


 Attorneys for the Plaintiff John Doe

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


  John Doe
                                                   Case No. 2:21-cv-20706-SDW-ESK
                 Plaintiff,

         v.

  Baila Sebrow

                 Defendant



                  PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT
                  OF HIS MOTION TO PROCEED UNDER PSEUDONYM
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        Plaintiff John Doe, by and through his attorneys, Daniel Szalkiewicz & Associates, P.C.

 and Borenstein, McConnell & Calpin, P.C respectfully submits this memorandum of law in

 support of his application for leave to proceed under a pseudonym in this matter.

                                 PRELIMINARY STATEMENT

        Plaintiff brings this action after years of harassment by the defendant, Baila Sebrow

 (“Sebrow” or “Defendant”). Sebrow’s conduct is the basis of a domestic violence case currently

 pending in the New Jersey Superior Court. The complaint details the numerous allegations of

 harassment that were designed to cause Plaintiff maximum public embarrassment and

 humiliation and create trauma for not only Plaintiff, but also his children, family members, and

 coworkers.

        The New Jersey Superior Court has already issued a temporary order of protection

 against Sebrow based on some of the allegations in this case. After being caught fabricating text

 messages and evidence, Sebrow concocted a story alleging she was raped by the Plaintiff.

 Sebrow made these allegations as not only a scorned lover but also to protect her reputation in

 the Jewish community as a public figure and matchmaker. Sebrow knew that she wrote

 Plaintiffs hundreds of pages of horrendous texts and needed to find a way to attack his

 credibility. As part of this litigation, Sebrow and her attorney are continuing to perpetuate a

 fraud on the court, this time submitting doctored emails as evidence that will be the subject of a

 separate motion. The stigma and severe harm that Plaintiff would face as a result of the public

 disclosure of his identity in conjunction with the traumatic and humiliating circumstances of the

 harassment caused by Defendant require that Plaintiff be permitted to proceed anonymously.

 Simply put, if Plaintiff is required to reveal his name, Defendant would accomplish her mission

 of destroying Plaintiff’s care, name, and his family. Given the resulting lack of prejudice to any
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 defendant, this Court should grant Plaintiff’s motion.



                                    FACTUAL BACKGROUND

        For the sake of brevity, Plaintiff will not repeat the allegations of his Complaint; rather,

 she provides the following facts relevant to this application, and respectfully directs the Court to

 his filed Complaint for a full recitation of her claims.

        Plaintiff and Defendant engaged in a short-lived relationship. When Plaintiff informed

 Defendant he no longer wished to see her, she began directly harassing him and his family.

        For example, concerning Plaintiff’s daughter, Defendant wrote the following texts:

                •   Go rape your daughter again, you sicko
                •   your daughter couldn’t deal with it, so she cut herself. And [Doe’s daughter]
                    is mentally unstable because of you. Sadly, her hubby will leave her when
                    you stop shtupping them with money. But don’t worry- I’ll help him find a
                    shidduch [match]
                •   Your poor son in law sees all those beautiful sexy women at work. Then he
                    goes home to his ugly smelly fat mentally unstable wife. I daven [pray] hat he
                    iy”H [may it be G-d’s will] dumps her and has some normalcy
                •   This I must tell you, as a friend. [M] gypped your daughter. A good quality
                    wig should not look so wiggy. Maybe try licking [M] a little more, and she
                    will do better on the next wig. Lol

        Defendant threatened Plaintiff that if he hired a lawyer involved, she would spread the

 lies that he raped her. Defendant wrote Plaintiff “Call your attorney. And I will go to the press!

 Perfect! It’s about time people find out. Famous journalist raped by [Doe’s employer]

 executive.” Defendant also told Doe that “[m]y advice is for you to move to Israel and change

 your name. Here, you are known as a rapist!” Defendant also told Plaintiff “I hope you get a

 lawyer against me. So, I can counter sue you and make it a class action. Imagine how your kids

 would be embarrassed that their father is a pig who abuses women.”

        Defendant has already admitted that she fabricated the rape allegations yet continues to
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 use them to try to hurt Plaintiff’s public reputation. Defendant told Plaintiff that “I love you very

 much. I’m very sorry that I said you raped me. I’m very sorry that I said you raped me. I was

 upset, and not thinking clearly. It’s not true. I apologize for the grief it caused you. I hope you

 realize that I’m a sincere person with integrity.” Defendant has also written emails affirming

 she lied about Plaintiff raping her. Yet, when Plaintiff refused to resume his relationship with

 her, Defendant continued her harassment.

        After Defendant stopped directly texting Plaintiff, she created a Spoofcard account and

 sent him over 40 text messages accusing him of being a rapist and demanding a get, a Jewish

 divorce, although the parties were never married.

        Defendant spread the same lie that Plaintiff is a date rapist and molested his daughter to

 third parties and solicited them to create false and harassing websites concerning Plaintiff. One

 such website appeared first in the Google search results out of 12,800,000 possible hits, and

 stated “[Doe], a [Doe’s age] [Doe’s profession] in [Doe’s home town], NJ is accused by police of

 incapacitating 100s of victims by plying them with date rape drugs.”

        On July 14, 2021, Doe filed a New Jersey Domestic Violence Civil Complaint and was

 issued a Temporary Restraining Order against Sebrow. The order prohibits Sebrow from making

 harassing communications to Plaintiff.

        Defendant appeared for her deposition on January 31, 2023, which needed to be

 adjourned several times because of interruptions. For example, the first day needed to be

 adjourned because Defendant’s counsel had a hard stop time. During the second day of her

 deposition, Sebrow allegedly became nauseous and was unable to proceed. While Defendant

 appeared for a third day of depositions, the night before her counsel submitted a fabricated email

 as “evidence” in the case. After being presented with the original email, the parties attempted to
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 resolve the matter but were unable to settle. However, Sebrow, during the course of her

 deposition, made one thing clear: she was not done spreading lies about Doe; nor was her

 harassment near a conclusion. For example, for the first time, Sebrow alleged that Doe forced

 her to role play with him and demanded she pretend to be his daughter as he had sex with her.

 Sebrow alleged that every text message she sent was spoofed, and that Plaintiff had married her

 under Jewish law. While Sebrow could not describe with any specificity the content of images

 she claimed Doe took of her and used to blackmail her, she did continue the misstatement of

 truth that he would produce these images several times a month and use them to force her to have

 sex with him. Finally, Sebrow made it clear that while she served unverified interrogatory

 responses in this matter with similar allegations against Doe, she never saw them, was never

 asked to attest to their truth, and did not know what the document was.

        In all, Sebrow has illegally harassed Doe for almost five years and he must be provided

 protection from the court.



                                           ARGUMENT

        While Federal Rule of Civil Procedure (“FRCP”) 10(a) “generally requires parties to a

 lawsuit to expressly identify themselves in their respective pleadings,” New Jersey Court’s “have

 recognized that a party may, under limited circumstances, proceed by way of pseudonym[.]” Doe

 v. Oshrin, 299 F.R.D. 100, 102 (D.N.J. 2014) (internal quotation marks and alteration omitted).

 In order to prevail on a motion to proceed under a pseudonym, “a plaintiff must show both (1) a

 fear of severe harm, and (2) that the fear of severe harm is reasonable[.]” Doe v. Megless, 654

 F.3d 404 (3d Cir. 2011). Courts then “balance a plaintiff’s interest and fear against the public’s

 strong interest in an open litigation process.” United States v. Janssen Therapeutics, 795 F.
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 App’x 142, 144–45 (3d Cir. 2019).

        The leading case for allowing a plaintiff to proceed as Doe is Doe v. Megless. The Third

 Circuit Court of Appeals provided a list of nine factors weighing both in favor of and against

 proceeding anonymously. Megless, 654 F.3d at 410 (citing Doe v. Provident Life and Acc. Ins.

 Co., 176 F.R.D. 464, 467 (E.D. Pa. 1997)). Under the Megless test, the factors that weigh in

 favor of anonymity are:

                (1) the extent to which the identity of the litigant has been kept confidential;
                (2) the bases upon which disclosure is feared or sought to be avoided, and
                the substantiality of these bases; (3) the magnitude of the public interest in
                maintaining the confidentiality of the litigant’s identity; (4) whether,
                because of the purely legal nature of the issues presented or otherwise, there
                is an atypically weak public interest in knowing the litigant’s identities; (5)
                the undesirability of an outcome adverse to the pseudonymous party and
                attributable to his refusal to pursue the case at the price of being publicly
                identified; and (6) whether the party seeking to sue pseudonymously has
                illegitimate ulterior motives.
                Id. at 409 (internal quotation marks omitted).

        Conversely, the Megless factors weighing against anonymity are:
              (1) the universal level of public interest in access to the identities of
              litigants; (2) whether, because of the subject matter of this litigation, the
              status of the litigant as a public figure, or otherwise, there is a particularly
              strong interest in knowing the litigant’s identities, beyond the public’s
              interest which is normally obtained; and (3) whether the opposition to
              pseudonym by counsel, the public, or the press is illegitimately motivated.
              (Id.).

        There can be no doubt that the Megless factors weigh in favor of allowing Plaintiff to

 proceed as Doe.

        First, this litigation was commenced as a John Doe action over 13 months ago. To date,

 Plaintiff’s identity has been confidential and Defendant has taken no action to compel him to

 disclose his name in the public eye. Doe has worked hard to protect his identity. Any public

 filing made by Doe has used a pseudonym. Doe has not made any public statements regarding

 the embarrassment and harm caused by Defendant. Plaintiff’s name is not known to the public at
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 large and he leads a private life. Plaintiff tolerated Defendant’s harassment for three years out of

 fear that Defendant would publicly humiliate him. It was only when Defendant placed Plaintiff’s

 name on the internet, and thrust him into the public, did Plaintiff start to protect himself.

         Second, Plaintiff has a reasonable fear of severe harm. Fear of embarrassment or

 economic harm are insufficient bases on which to proceed anonymously; instead “a plaintiff

 must show both (1) a fear of severe harm, and (2) that the fear of severe harm is reasonable.”

 Megless at 408. Plaintiff’s fears over public disclosure of his identity in this litigation meet this

 standard. Plaintiff works in a regulated industry and his license could be suspended even by the

 mere false allegations made by Defendant. Plaintiff has been emotionally destroyed, ever day

 living with the fear Defendant will place more allegations online. Plaintiff spent his life building

 a stellar reputation, and Defendant, with false assertions and fabricate evidence, is attempting to

 destroy him. The trauma and emotional toll Plaintiff overcomes on a regular basis cannot be

 understated. Plaintiff has lost weight, does not sleep, and fears socializing even with friends

 because of Defendant’s assertions. Plaintiff is a member of a small insular community, the

 Orthodox Jewish community, and these allegations can destroy him. As a result, Plaintiff

 reasonably fears that public disclosure of his identity in connection with the facts of this case—

 and the inevitable accompanying questions dissecting his experience and public visibility—will

 exacerbate these severe negative mental and emotional experiences and further re-traumatize

 him. Finally, Plaintiff’s fear is reasonable, and “exposing [his] identity poses the potential for

 severe harm that exceeds mere embarrassment[.]” Doe v. Trishul Consultancy, LLC, No.

 CV1816468FLWZNQ, 2019 WL 4750078, at *4 (D.N.J. Sept. 30, 2019).

         Third, there is a strong public interest in protecting Plaintiff’s right to anonymity.

 “[c]ourts have a strong interest in incentivizing plaintiffs to litigate their claims without threat of
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  revictimization[.]” (Doe v Trishul Consultancy, LLC, 2019 US Dist LEXIS 169051 [DNJ Sep.

  30, 2019, Civil Action No. 18-16468 (FLW)(ZNQ)]). Because Defendant is already threatening

  to revictimize Plaintiff, to allow a harasser free access to use the legal system to continue her

  illegal conduct would deter “other similarly situated litigants… from litigating claims that the

  public would like to have litigated[.]” Megless 654 F.3d at 410.

          Fourth, there is no real public interest in disclosing Plaintiff’s name. Plaintiff is a private

  citizen and not requesting the docket be sealed in its entirety. The public will still have the right

  to follow and access the proceeding.

          Fifth, the Plaintiff runs the daily fear of being exposed online and without the protection

  of using a pseudonym, he would not have started this case.

          Sixth, Plaintiff has no illegitimate ulterior motives in requesting the ability to use Doe.

  Plaintiff did not rape Defendant. Defendant has stated numerous times Plaintiff did not rape her.

  Plaintiff’s use of a pseudonym protects not only him, but his daughter, children, and

  grandchildren, all of whom Defendant has attacked in awful messages and testimony.

          Looking at the factors weighing against anonymity, the universal public interest in cases

  “exists in some respect in all litigation and does not outweigh the strength of the factors in favor

  of Plaintiff’s use of a pseudonym[.]” Doe v. Hartford Life & Acc. Ins. Co., 237 F.R.D. 545, 551

  (D.N.J. 2006). The second factor, “whether, because of the subject matter of this litigation, the

  status of the litigant as a public figure, or otherwise, there is a particularly strong interest in

  knowing the litigant’s identities, beyond the public’s interest which is normally obtained[,]”

  Megless, 654 F.3d at 409, does not apply here because Plaintiff is a private citizen and there is

  no strong interest in his identity. Finally, “the opposition to pseudonym by counsel, the public, or

  the press is illegitimately motivated[,]” Id., also cuts in favor of this application, as no
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  illegitimate motive can or will be identified for the actions that Plaintiff has taken in filing this

  lawsuit and seeking to do under the pseudonym John Doe. However, Defendant has submitted

  fabricated evidence and made baseless claims and has shown no reason why Plaintiff should not

  use a pseudonym.

          Plaintiff should be permitted to continue to use a pseudonym as he has done without

  objection by Defendant for over a year, and the balancing of the interests weighs in his favor.

  Additionally, Docket Entry 13 should be restricted from public access because Defendant used

  Plaintiff’s real name.

  Dated: February 8, 2023

                                                          Respectfully submitted

                                                          Daniel S. Szalkiewicz, Esq.
                                                          Daniel Szalkiewicz & Associates, .C.
                                                          Daniel S. Szalkiewicz, Esq.
                                                          23 West 73rd Street, Suite 102
                                                          New York, New York 10023
                                                          (212) 706-1007
                                                          daniel@lawdss.com

                                                          Attorneys for Plaintiff John Doe
